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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

PIVITAL IP LLC,
Plaintiff,
v, C.A. No. 19-2176-LPS

ACTIVECAMPAIGN, LLC,

Defendant.
PIVITAL IP LLC,
Plaintiff,
v. C.A. No. 20-254-LPS
TWILIO INC., :
Defendant.
PIVITAL IP LLC,
Plaintiff,
v. : C.A. No. 20-255-LPS

SHARPSPRING, INC.,

Defendant.

INTERDIGITAL TECHNOLOGY, CORP.,
IPR LICENSING, INC., INTERDIGITAL
COMMUNICATIONS, INC., INTERDIGITAL
HOLDINGS, INC., and INTERDIGITAL, INC.,

Plaintiffs,
v. C.A. No. 19-1590-LPS
LENOVO HOLDING COMPANY, INC.,
LENOVO (UNITED STATES) INC.,
and MOTOROLA MOBILITY LLC,

Defendants, _

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MENTONE SOLUTIONS LLC,
Plaintiff,
v. : C.A. No. 20-280-LPS
DIGI INTERNATIONAL INC., :

Defendant.

MENTONE SOLUTIONS LLC,
Plaintiff,
Vv. : C.A. No. 20-281-LPS
ELO TOUCH SOLUTIONS, INC. :

Defendant.

MEMORANDUM ORDER

At Wilmington this 13 day of October, 2020:

WHEREAS, defendants in the above-listed cases filed Rule 12 motions to dispose of
patent infringement claims on the bases that certain patent claims are invalid under 35 U.S.C.
§ 101, because they are allegedly directed to unpatentable subject matter;

WHEREAS, the above-listed cases are unrelated to one another;

WHEREAS, the Court heard oral argument in all of the above-listed cases on July 14,
2020 after considering the parties’ respective briefs and related filings;!

WHEREAS, the Court continues to find that its experimental procedure of addressing
multiple Section 101 motions from separate and unrelated cases in one hearing is an efficient use

of judicial resources and a beneficial tool for resolving the merits of Section 101 motions;

' Chief Judge Leonard P. Stark and Magistrate Judge Jennifer L. Hall jointly presided
throughout the argument. The Court adopts the full bench ruling and includes herein only certain
portions of it.

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NOW, THEREFORE, IT IS HEREBY ORDERED that, with respect to the above-
listed Pivital IP LLC (“Pivital”) cases, Defendants ActiveCampaign LLC (“ActiveCampaign”),
Twilio Inc. (“Twilio”), and Sharpspring, Inc.’s (“Sharpspring”) Rule 12 motions (C.A. No. 19-
2176 D.L 10; C.A. No. 20-254 D.I. 10; C.A. No. 20-255 D.I. 11) are GRANTED;

IT IS FURTHER ORDERED that, with respect to the above-listed Interdigital
Technology Corporation, IPR Licensing, Inc., Interdigital Communications, Inc., Interdigital
Holdings, Inc., and Interdigital, Inc. (“Interdigital”) cases, Defendants Lenovo Holding
Company, Inc., Lenovo Inc., and Motorola Mobility LLC’s (collectively, “Lenovo”) Rule 12
motion (C.A. No. 19-1590 DI, 22) is DENIED; and

IT IS FURTHER ORDERED that, with respect to the above-listed Mentone Solutions
LLC (“Mentone”) cases, Defendants Digi International Inc. (“Digi”) and Elo Touch Solutions ,
Inc.’s (“Elo”) Rule 12 motions (C.A. No. 20-280 D.I. 9; C.A. No. 20-281 D.I. 10) are
GRANTED.

The Court’s Order is consistent with the bench ruling announced at the conclusion of the
July 14 hearing (see, e.g., C.A. No. 19-2176 DL. 27 (“Tr.”) at 151-78), which is reproduced in
substantial portion below:

[T]he first set of cases all involve the plaintiff, Pivital IP,
LLC .... Each of the defendants moved to dismiss Plaintiff
Pivital’s complaint on Rule 12(b)(6) on the same grounds, the lack
of patent eligibility under Section 101...

[T]he Court will grant defendants’ motion to dismiss.

The asserted patent[] here is U.S, Patent No. 6,636,965 ...
. Plaintiff[] alleged infringement of at least claims 1 and 11
against ActiveCampaign, claim 1 against Twilio, and claim 1
against SharpSpring. No party has suggested that the Court

need[s] to analyze the patent eligibility of any claims other than
claims 1 and 11. These are the only claims that are asserted across

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the three cases and are the only claims that plaintiff says they
would assert in any of these cases were they to go forward....

Let me turn to the Alice/Mayo[?] analysis.

[Al]t step 1, I conclude that both claims 1 and 11 are
directed to the abstract idea of encrypting a portion of a common e-
mail so that only a subset of recipients can access the encrypted e-
mail. That happens to be ActiveCampaign’s articulation of the
abstract idea. And I am persuaded by defendants that that is, in
fact, what these claims are directed to.

One indication that the claims here are directed to an
abstract idea is that the claims consist of functional results-oriented
language .... [N]either of the challenged claims here describe{s]
how to achieve the results of the purported invention in a non-
abstract way. Even the specification does not explain how any
data is stored, encrypted, or decrypted, or point to any protocol for
doing these functions....

Another basis for my conclusion that the claims are
directed to an abstract idea [at] step 1. . . is that I am not
persuaded by plaintiffs contention that the claims relate to a
technical improvement to computer functionality .... Plaintiff's
alleged improvements, such as reducing waste of processing
resources, storage and bandwidth, are not inventive here because
they are generic to any communication system that employs a
filtering feedback mechanism, whether conventional or computer
implemented ....

Yet another indication that the claims here are directed to
an abstract idea is that defendants have articulated a fair and
accurate real-world prior art analogy that humans have long
performed....

I would say last and really most importantly, what
persuades me that these claims here are directed to an abstract idea
and, in fact, are not patent eligible, is that the Federal Circuit has
analyzed many similar claims and has repeatedly found that patent
claims like these, which are directed to selective access to
resources, are directed to abstract ideas and are not patent eligible .
... [W]e know from many cases now, including, for instance,

2 Alice Corp. Pty. Ltd v. CLS Bank Int’l, 573 U.S. 208 (2014); Mayo Collaborative Serv.
v. Prometheus Labs., Inc., 566 U.S. 66 (2012).
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Enfish,[’] that a valid and independently sufficient approach to
resolving a 101 dispute is to find what are the most analogous
cases that have already been decided, and to rea[son] from those
analogies ....

I must [next] determine [at] step 2, whether the claims are
valid because they ... contain an inventive concept. I find that the
°965 patent fails this step because it does not recite any inventive
concept [that] transforms the abstract idea into patent eligible
subject matter. As already discussed, the specification describes
generic equipment and technology [and] nothing in the claims
improve[s] or change[s] the functioning of a computer. At best,
the claims here describe creating and sending electronic messages,
{and] encrypt[ing] and decoding based on the recipient, but the
claims recite these steps in an abstract way without specifying any
improvement to computer functionality. The claims do not
disclose a new way to create or deliver e-mail, encrypt or decrypt a
portion of a message, determine user authorization, or to use an
icon or instruction ....

So for all of those reasons, those many reasons, the
motion{s] to dismiss . . . in the Pivital cases are granted.

Let me turn next to InterDigital....

Neither party argues that any claim is representative, but
they agree nonetheless that I only need to determine the patent
eligibility of the claims that are [discussed] in the motion.... I
really think it comes down largely to one decision that resolves for
the most part this motion with respect to all of the claims. ...

[Mly decision is to deny the motion to dismiss with respect
to all six patents. I find that Lenovo has not met its burden at
either step 1 or step 2 of the Alice/Mayo test.

None of the six claims ha[s] been shown to be directed to
an abstract idea, and even if any of the claims were directed to an
abstract idea, InterDigital has sufficiently and plausibly alleged at
least a fact dispute as to whether each of the six challenged claims
actually claim[] non-routine, nonconventional, or not well
understood inventive concepts. ...

What this motion has largely come down to for me is a
dispute as to whether the claims of the six patents are more

3 Enfish, LLC v. Microsoft Corp., 822 F.3d 1327 (Fed. Cir. 2016).
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analogous to those which survive Section 101 scrutiny in Uniloc{*]
and KPN,[>] or instead are more like those claims that were
deemed ineligible in, for example, Two-Way Media.[°] I have
concluded that plaintiff's comparison to Uniloc and KPN is
persuasive, and Lenovo’s effort to distinguish those cases is not
persuasive.

Uniloc especially involves similar technology and a similar
technical solution to a technical problem. This is especially true of
the asserted claim in what we’ve called group 1, that is the °873
patent which, like the claims upheld in Uniloc, is directed to
reducing latency by adding a field to a message in a wireless
communication. More generally and with respect to all six of the
patents at issue on this motion, the criticism by Lenovo of the six
claims [-] that they all consist only of functional results-oriented
language and are insufficiently specific [-] ... ifaccepted, mean . .
. that the claims upheld in Uniloc should have been deemed
ineligible for patenting. But they weren't deemed ineligible for
patenting, so I cannot be persuaded by defendants’ argument ....

Even if all of what I have just said about Lenovo’s failing
at step 1 were not correct, Lenovo would nonetheless lose this
motion with respect to all six claims at step 2.

The operative first amended complaint plausibly alleges
that each of the six patents has an inventive concept that was not
routine, conventional, and well understood; and it does so... . for
example, by citing to pertinent portion[s] of the prosecution
histories.

Accordingly, and for all of those reasons, the Court will
deny Lenovo’s motion.

... [L]et me turn to the last set of cases, the Mentone
cases[,] two related cases involving Mentone and U.S. Patent No.
6,952,413. The two defendants move to dismiss the[] first

4 Uniloc USA, Inc. v. LG Electronics USA, Inc., 957 F.3d 1303 (Fed. Cir. 2020).

5 Koninklijke KPN N.V. v. Gemalto M2M GmbH, 942 F.3d 1143 (Fed. Cir. 2019).

6 Two-Way Media Ltd. v. Comcast Cable Communications, LLC, 874 F.3d 1329 (Fed.
Cir. 2017).
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amended complaints under Rule 12(b)(6), both under Section 101
and for failure to adequately plead infringement. .. .

I have decided to grant the motion on Section 101 grounds.

My decision is specifically about claim 5. All parties agree
that claim 5, which is the only claim specifically asserted in the
operative complaint, is representative of the ’413 patent’s claim{s].

Before I dive into step 1 and step 2 of the Alice/Mayo test, I
wanted to explain that part of what has driven my conclusion [o]n
the Mentone motion is that even if 1 were to accept the plaintiff's
analogy of the claim here to KPN, and even if I were to say that
this claim involved a technical solution to a technical problem,
there is insufficient specificity of that solution captured in the
claims. That is, there is not sufficient specificity of that purported
technical solution to a technical problem captured in the claim|[s] to
allow the claims to survive the motion to dismiss. . . .

So at step 1, I find that the challenged claim, claim 5, is
directed to the abstract idea of receiving a USF and transmitting
data during the appropriate time slots. That’s the articulation that
Digi offered for the abstract idea. And I am persuaded that that is
what the claims are directed to, and I’m persuaded that that is an
abstract idea, which we know from numerous Federal Circuit
cases, such as Electric Power,[’] where the Court concluded that
similar data manipulation steps, like receipt, detection, and
transmission of information, are abstract. It is plain to me from
this patent that there are only functional limitations in claim 5:...
[rJeceiving, monitoring, and transmitting communications.

[I]t’s functional language . . . because the claims indicate
nothing about when, how, or why one would, for instance . . . and
most importantly, shift the USF or how a shifted USF would
specifically improve the functioning of a prior art system. . ..

In the Court’s view, claim 5 is most analogous to claims the
Federal Circuit considered in Two-Way Media which were also
directed to a functionally claimed patent ineligible abstract idea. . .
.. Here, arguably, the how of the improvement is done by shifting
the USF, but there’s nothing in the claims or even really in the
specification about how and when one would shift the USF. .. .

7 Elec. Power Grp., LLC y. Alstom S A., 830 F.3d 1350 (Fed. Cir. 2016).
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Having made those findings at step 1, I need to turn to step
2.... I find that Mentone has not advanced any meritorious
inventive concept that’s captured in claim5....

Mentone’s argument [at] step 2 .. . largely relies on the
shifted USF, but the shifted USF, even in combination with the
abstract idea, functional limitations, and anything else that
Mentone says is in the claimsf,] do not turn out to be in my view
significantly more than a claim to the abstract idea.

Focusing for a moment on the shifted USF, the complaint
does not allege that use of a shifted USF is itself not well
understood, routine or conventional. . . .

Mentone did purport to raise a factual dispute as to step 2
concerning whether claim 5 is directed to a specific and discrete
system of altering the fixed relationship in the timing of the
download allocation signal[Jing as subsequent uplink transmission.
This argument fails. This fact .. . could not provide a possible
inventive concept here because it’s just an abstract description of
the abstract idea to which the claims are directed. This purported
fact is also unsupported by the specification and the claims. ...

Now, today we did hear quite a bit about the claim
limitations relating to multiple PDCHs and how they potentially
supplied an inventive concept. This argument was new to me
today ... it’s untimely and I need not consider it, and I really have
not had time to consider it much, having heard it only just a couple
hours ago.

So my decision in the Mentone case is that claim 5 is invalid
for lack of patent eligible subject matter under Section 101.
Because claim 5 is representative according to the parties of the
rest of the claims of the ’413 patent, defendants’ motions to
dismiss are granted on this basis.

I do note that at least in passing, plaintiff had asked for leave
to amend its complaint. I find that amendment would be futile
given my findings and . . . given the representative nature of claim
5. So 1 will be granting the motion to dismiss and 0 be closing

the Mentone cases. ~f /)
LAL 4

HONORABLE LEONARD ®“STARK.
UNITED STATES DISTRICT COURT

